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                                   UNITED STATES DISTRICT COURT
                               !-<OR THE DISTRICT OF RHODE\ ISLAND

                                                                                                                D
  UNITED STATES OF A1v1ERIC/\                              Critninal Case No.    ·[5-41~M
                                                                                              ZOib   SEP -b p 2: 53
                    v.                                                                         U.S. DIS     COURT
                                                                                            OiS.fHIGl
                                                                                                                ISLAND
  :tvfACKENZY SCOT l'




                                           IJLEAj~GREEMENT


          Pursuant to Rule      11(c)(1)(C~)   of the   Fedtc~rdl   Rules oi Criminal Procedure, the United

  States and Ochmdant, Mackenzy Scott, have Tcached the follmvil1g                   agre<c~ment:


         1.         Dcfcnd~mfs    Obligations.

                    <1.   Defendant will plead guiH:y to Cow1t 1 of the JnJktment, which charges

  Defendant \Vith conspixacy to commit sex trafficking of minors, in violc.ition of 18 U.S.C. §

  1594(c). Defendant further agrees that the time               lx~tween   lhe filing of this ph~a agreement

  and the r.chtxlu l*c~d date for the change of plea is excludable under the Speedy Tdal Act,              H~


   u.s.c. § 3161.

         2.         Government's Obligations. In exchange for Ddt:!ndant's plea of guilty:

                    a.      The United States and Defendant i.Vlll recommend to lhe Court, as a

  reasonable sentence, l.hat Defendant be sentenced to a terrn of incarceration of 60 months

  incarceration. The pmtil'S understand that if this plea agreement is acc:ept~d by the

  Courl, the Court \·Viii impose a sentence of 60 rnonths incarceration.               Dcfcnd<Jnt is aware



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  that his sentence ii'l within thE.:' sound discretion of the Court. Defendant furtlwr

  understands that under Rule ·1 '1 (c)(! )(C), the Court may accept or reject the plea

  agreement, or muy defer its decision as to its acceptance or rejection untll it has considered

  the presentence report.         If the Cowt rejects lhe plea agreement, the Court shall, on the

  record, inform the      parti<:~s   of lhis fact, and afford   D~h:mdant       an opportunity to \Vithdraw

  the~   guilty plea, and mlvise Defendant that ii Defendant persists in a guilty plea 1 the

  disposition of the case illil.Y be [css favm'Clb1e to Defendant than !:hat contemplated in the

  plea agreement. In addition,            <'IS   part of the terms and conditions of this plea abrreement,

  the parties   a~'Tee   that should the Court reject the:.}     plec:~   Rf:,'1"eement, the United   Statt:~s


  reserves its right to ·withdr<:nv horn its obligations under the same.

                   b.    For purposes of determining the           ofh~nst'    ]Qvel, the goverru:nent agn~es to

  n:comm(.~nd     a l1vo-level reduction in the offtmoe level for acceptance of responsibility

  under§ 1El.'I (a) of the h'ltidelines if Defendant continues to demonstrate acn~ptmwe of

  responsibility through sentencing.

                   c     As of rhe date of this <1green1ent, Defendant has tirndy notified

  authorities of an intention to (~nter a plea of guilty.            If the offense level is 16 or greater Hnd

  Ddend~mt      enters a plea of bruHty punmant to this agreement,                 tlu~   govenunent \Vill move

  the sentencing Court for an additional dt~cn~(:lse ot one level, pursuant to US.S.C. §

  3El.l(b)(2), unless Dd(:lu.:hmt indicates an intention not to enter a plea of guilty, thereby

  requiring the government to prepm·e for triaL
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                d. The government is free to rccommt~nd <my combination of supervised

  rdc:asc, fines, nnd restitution \"-"hkh it deems appropriate.

                c.   'lh:~   gnvemmt!nt wilt at the time of sentencing, move to dismiss Count!:'

  2-7 of the indlchnent.

         3.     Defendant understands that the guidelines arc not binding on the Court,

  and that, although U1e Court must consult the guidelines in fashioning any sentence in

  this case, the guiddim:s ;we only mlvh;ory1 and the Court ma}' impose any reasonable

  sentence in this matter up to the statutory    m~ximum    penalties afler taking into account

  the £actors enumerated in18 U.S.C. § 355:~(a}.

         4.     The United States <.ind Jdendant stipulate and agree to the following facts

  under the guidelines:

                a. The defendant conspired to 1'ccruit,. entice, harbor, transport, provide,

  obtain and rnuintuin u p{;~TtjOn under the age of 18 vvho was cauSL'd to    r~ngag~~   in a

  commercial sex act, contrary to 115 U.S.C. § 1S91(b)(2). Therefore, the base offense lt!vd is

  Level 30 pursuant to US.S.C. § 2G1.3(a)(2).

                b. The offense involved the commission of a sex act or        sextJ~11   contact.

  Therefme, a 2 !eve! enhancement applies pursuant to U.S.S.G. § 2G1.3(b)(4).

         5.     Except 1-1s expressly provided in the    pn~cedLng   paragraph, there is no

  agreement JS to \Vhkh Offense Level and Cdmim1l History Category applies ln this case:.

  Both the United States and Ddemhmt reserve their rights to argue and present <~vidence

  on all mallers affecting the gu_iddines calculation.
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         6.      The rnaximum statutory penaltic:; for the offenst~ to ivhkh Defendant is

  pleading are life imp.risom11ent, a fine of $250,000, a term of supervised release of bdwE~t~n

  5 :years and life and a mandatory special assessment of $100:

         7.      Defendant agrees that, after         D1.~h-:nd~mt and   Defendant's counsel sign this

  plea agreemenl, counsel will return it to the United States            Attnmt~y·s   Office akmg \vith   <:1


  money order or certified check, payable to the Clerk,           UnH\~d    States Dish·ict Court1 ifl_

  pay·ment nf the special asse!'>sments.        F<lihne to do so, unless the Court has made a

  previous finding of indigence, will     relit=~ve   tht=! government of its obligation to recommend

  a !'eduction in the nffensf: lev~c~l umlt::r the b111idelines for acceptance of responsibility.

         8.      Defendant is advised and understands that:

                 a. The govcmrncnt has the right, in a prosecution for perjury or making a

  false statement, to use against Defendant any statement th1Jt DdenJant giv!:!s under oath;

                 b.   Defendant has the right to plead not guilty, or having already so

  pleaded, to persist in lhat plea;

                 c    Defendant has the right to a jul'y trial;

                 ll Defendant has the right to be represented by
                                                               .              counst~l   -and if necessan'
                                                                                                        -

  have lhe Court appoint counsel~       ~1t   trial and every other stage o£ the proceeding;

                 e. Defendant has the right at tri{.l! to confront and cross-examine adverse

  witnesses, to be pmkdcd from        seH~incrimination,       to testify and present evidence, and lo

  compel the attcnd~n1ce of witnesses; and


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                  L Defendant \·vaives these tria! rights iJ the Court accepts a plee1 of guilty.

                  g.   Defendant understands that by pleading guilty, defendant win be

  required to register as a sex offender upon his release from prison as a cm•dition of

  supervised    rck~~1Sl!   pursuant lo 18 U.S.C. § 35H3(d). Ddendcmt also understands that

  independent of supervised release, he \NiH be subject to federal 'md titate sex offendet

  registration nxruircments, and that lhose requirerncnts may apply throughout his life.

  Deiendanl w1derstands: that he shall keep his registration current, shall notify th<::! state sex

  offender registration agency or agcnck~s of any changes to defendant's name, plcwe of

  residence, cmployrnent, or student status, or otlH..'!r wlt:!vant information.             Defendant sh~!l

  comply with requirements to pcriodkally verify in person his               st~x   offender regish·ation

  inforrnatinn.    Dt~ft-mdant     understands that he will be subject to possible federai and           st~1tc


  pem1lties for failure to comply with any such sex offender registration                n~quirements.


  Defendant furthct         unlit~r11tands   that, under '18 US.C. § 4042(c), notice will be pmvided to

  ccrtc.1in law enforcement agencies upon his release frorn           cotu-'1.nemt~nt   follovving

  conv'ktion,

         9.       The govetnn'l.ent l't'.Serves its full right of allo<:-I.Ition, including the right to

  present any information to the Court for its consideration in fashioning an appropriate

  sentence, the right to coned misslaten:1ents,          rni~rt.~presenlalions,   or omissions by

  DE~fendant,   and to ans'l.·ver ~my questions asked by the Court.

         10.      Except for paragraphs 2 and 4, above, the parties have m.ade no .:tgn~ement

  concerning the application of the guidelines in this case.




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         11.         Defendant understands that the Court alone makes all sentendng decisions,

  including the application o£ the guidelines and the sentence to be imposed.

         12.         Defendant hereby waives Defendant's right to appeal the conviction (.lnd

  sentence itnposed by the Court, if the sentence 1mpotwd by tlw Court is 60 months of

  imprisonment or less. This agreement does not alfect the rights or obligations of the

  Uliited States as set forth in 18 U.S.C § 3742(b), and the government retains its right to

  appeal any of the Court's sentencing dt~h~l'min<.1tions.

         "13.        This agi·ecmcnt is binding     Ol1   the    gon~rm11t~nt only    if Defendant pleads

  g1Ji1ly, fulfills all Defendant's obligations under the agreement, docs not engage in any

  conduct constituting obstruction of justice under§ 3C1 :1 of Hw !_{uidelines, and does not

  commit anv nev; offenses.
                ,;
                                        Defendant lcmuerstands that if Defendant violates this

  agreement in any \Yay, the government shall                  bl~   n;k:£lscd from its obligations under the

  ar,reemmt and will be free to make any recommendations that it deems appropriah:!. If

  that occurs, Defendant shall not have the right to withdraw Defend<ml's guilty plea.

         "14.        This agreement is limited to the District of Rhode Island and does not bind

  any other fedcJ·ai,    stilt~~,   or local prosecuHve authorities,

         15.         This agreement constituks the cnlire agreement bet\veen the partic:!s. No

  other promises or inducements have been made concerning th~~ plea in tllis case.

  Defendant acknmvlcJges that no person has, directly or indir<:x:tly, threatened or coerced

  Defendant to enter this agreement. Any additions, deletions, or modifications to this

  agreement must be rnade in writing and signed by all the parties in                    ordr~r   to be dfixtive.



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                     16.              COLrnsel for Dcfend<mt st<lles Lhal Counsel bas        n!<HI           this agreement, been

   ~iV(!ll      a copy of it for Counsel's file, explained il" lo Defendant, and sti.ltcs thatlo the best of

   Counsel's knowledge and bt'lieJ, Defendant understands tlw agreement.

                     "17.             Defendant states that Ddcndnnt has read the       agn~cnwnt                     or has had il read

   to Ddendant, has discussed it with Dcfcnd<.mt's Counsel, understands it, <md agn't'5 toils

   pnwisions.
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                                                                                                     { ·'i
  iv1ACKENZY SCOTT
  Defendant
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          ",... ,•j

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 / tvf?ry June Ciresi, by.                                                     Da tc /
   C<.)unsel for Defendant


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  Lee H. Vilker
  Assistant U.S. Altorney
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                                                                               Date
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  Deputy Chief, Crimir1<:1l Division
